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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                         August 14, 2019
                     UN ITED STA TES DISTRICT CO URT                    David J. Bradley, Clerk
                      SOU TH ERN DISTR ICT OF TEX AS
                            H OU STO N DIW SIO N

Fan Gu,
            Plainti
                  ffi
                                                  CivilAction N o.1-1-19-562

lnvista S.àr.1.
            Defendant.

                  M EM OM NDUM AN D R ECO M M EN DATION

      Pending beforethe courtare the follow ing m otions:

   @ D efendantlnvista S.à r.1.'s M otion to Dism iss for Failure to State a Claim
     (D.E.16)
   @ PlaintiffFan Gu'sM otion toInvalidateJudgmentsandRelief(D.E.19)
   @ Fan Gu's M otion to V acate Order D enying M otion for D efault Judgm ent
      (D.E.21)
   * Invista S.à r.1.'s O pposed M otion to Stay D iscovery and R equirem ents of
     OrderforConference(D.E.22)
   * Fan Gu'sM otionto CompelDefendant'sDisclosureand Sanctions(D.E.28)
   * Fan Gu's M otion to Oppose Defendant's Response to Plaintiff's M otion to
      lnvalidateJudgment's(sicqand Relief(D.E.38)
   * Invista S.à r.1.'s M otion to D ism iss Plaintiffs First A m ended Com plaint
      (D.E.41)

      The courtrecomm endsthatthe defendant'smotion to dism iss (D.E.40)be
granted and that this action be dismissed with prejudice. The court further
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recomm ends thatany rem aining dispositive m otions be denied.The courtdenies

any rem aining non-dispositivem otions asm oot.

   1.       Introduction and ProceduralPosture

        Fan Gu sued lnvista S.à r.1. (tslnvista'') in Harris County, Texas on
Decem ber 30,2014,alleging a cause of action for age discrim ination under the

Texas Labor Code.Invista rem oved the case to federalcourtin this district.The

case w asdocketed under cause num ber4:15-0v-240 and assigned to Judge H ittner

tççGu1'')
        The courtgranted Invista'smotion forsllmm ary judgment(Gu 1,D.E.68)

and entered fmaljudgment against Gu on M ay 2,2016.(Gu 1,D.E.69.) Gu
appealed.The United States Court of Appeals for the Fifth Circuit affrm ed and

issued itsmandate on M ay 9,2017.(Gu 1,D.E.85.)The Supreme Courtdenied
Gu'spetition forawritofcertiorarionNovember6,2017.(Gu 1,D.E.88.)
        Gu filed this action on January 29,2019,and,with leave ofcourt,filed his

amended complainton July 1,2019.(D.E.1,40.)Gu'scomplaintisan attemptto
re-litigate Gu 1.Forexample,Gu claim sthatGu 1waswrongly decided.H e alleges

thatw itnesseslied and thatfalse docum entsw ere subm itted to the courtduring the

previous litigation. H e claim s he w as not notified of key events and filings.H e

allegesthatInvista failed to serve him with variousdocum ents.Gu believesthathe

wasdiscrim inated againstaszpro se litigantand w asdenied dueprocess.H e states
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in his Am ended Com plaint that Ssplaintiff filed this suit to reopen the age

discrimination case and seek relief from (cjiviljudgments per FRCP 60(b) as
Defendantcommittedfraud,perjury,forgingofdocumentsand evidence...''(D.E.
40at5.)
      Based on a litany ofcom plaintsaboutlnvista'sconductduring the litigation

ofGu 1,Gu now asserts three causes ofaction againstInvista:Age discrim ination

under29 U.S.C.j623(a)(1);perjury under 18 U.S.C.jj 1621-23;and violations
ofhisFirst,Eighth,and Fourteenth Am endm entrights.

      Invista has m oved to dism iss a1l of Gu's claim s under Fed.R . Civ. P.

12(b)(6).Invista argues that Gu's age discrimination claim is barred by res
judicata.As forGu'sperjury allegations,lnvista arguesthatno such privateright
of action exists. Finally, Invista argues that it carm ot be held liable for Gu's

constitutionalclaim s because itis nota state actor.

   II.    Standard ofR eview

      A plaintiff s complaint should dçcontain either direct allegations on every

m aterial point necessary to sustain a recovery ... or contain allegations from

which an inference m ay fairly be drawn thatevidence on thesem aterialpointswill

beintroduced attrial.''Campbellv.City ofsanAntonio,43 F.3d 973,975(5th Cir.
1995)(quotation omitted).UnderRulç 12(b)(6),a complaintthatdoesnotallege
Sçenough facts to state a claim to relief that is plausible on its face''should be
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dism issed.Bell A tl. Corp.   Twombly, 550 U.S.544, 570 (2007), However,
çtlrjegardless of how well-pleaded the facm al allegations may be, they must
dem onstratethatthatparty isentitled to reliefundera valid legaltheory.Langen v.

SanchezOiltt GasCorp.,No.CV 4:18-2840,2019 W L 1674348 at*3 (S.D.Tex.
Apr.17,2019).
     The courtliberally construespro se pleadings.See Erickson v.Pardus,551

U.S.89,94 (2007).W hen a plaintiffs complaintfailsto state a claim ,the court
should generally give the plaintiff a chance to am end the com plaintunder Rule

15(a)before dismissing theaction with prejudice,unlessdoing so would befutile.
See GreatPlains TrustCo.v.M organ Stanley D ean Witter & Co.,313 F.3d 305,

329 (5th Cir.2002);see also Ayersv.Johnson,l47 F.App'x 534,535 (5th Cir.
2007)(çç(Aj districtcourtactswithin its discretion when dismissing a motion to
amendthatisfrivolousorfuti1e.'').
   IH . A nalvsis

     A .G u's C laim s are B arred by R esJudicata

     Resjudicata ensures the finality of decisions.ltprevents litigation of al1
grounds for,ordefensesto,recovery thatw ere previously available to the parties,

regardless of whether they w ere asserted or determ ined in the prior proceeding.

Brown v.Felson,442U.S.127,131(1979);Goldberg v.Longo Const.Co.Inc.,54
F.3d 243,246(5th Cir.1995).11gA)n action isbarredbythedoctrineofresjudicata
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if:1)the partiesare identicalin both actions;2)thepriorjudgmentwasrendered
by acourtofcompetentjurisdiction;3)thepriorjudgmentwasfinalon themerits;
and 4)the caseshwolve the same cause ofaction.''TravelersIns.Co.v.St.Jude
Hosp.of Kenner,La.,Inc.,37 F.3d 193,195 (5th Cir.1994).Cases involve the
sam e cause ofaction when the plaintiffbases the claim s on the sam e nucleus of

operativefacts.In reHowe,9l3F.2d 1138,1144 (5th Cir.1990).
      Gu has sued the sam e party asin Gu 1.The United StatesDistrictCourtfor

theSouthem DistrictofTexasisoneofcompetentjurisdiction.Thetsnaljudgment
wason the m eritsofGu'sage discrim ination claim .

      W hile Gu is now casting his age discrim ination claim as a cause ofaction

underfederalratherthan state law ,the factshe allegesare the sam e in both cases.

ln fact,Gu openly adm its thathe is seeking to ttreopen''Gu 1.Gu alleges no facts

to suggest that lnvista has engaged in discrim inatory conduct since Gu I w as

dism issed.There is no reason G u could nothave broughtthis sam e cause of action

in Gu1.Gu'sagediscrimination claim isbarredby resjudicata.

      The sameistrueofGu'sperjury and constitutionalclaim s.Theseclaimsare
nothing more than com plaints about how Invista litigated Gu 1. Gu does not

explain why he could not raise questions about false testim ony or docum ents

during the pendency of G u 1.N or does G u explain w hy he could not have filed

objectionsbasedon lack ofaccesstothecourtwhenhebelievedtheproblem arose.
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Asdiscussed,resjudicata barsnotonly those claimsactually broughtin aprior
law suit,butthose that could have been brought.

      A11ofGu'sclaim sarebarredby resjudicata.

      B.Perjury
      To the extent that Gu's claims based on perjury are not barred by res
judicata, they must nevertheless be dismissed. Gu seeks relief under

18U.S.C.jj1621-23.These statutes criminalize perjury,subomation of perjury
and making false declarations.N one of these statm es creates a private right of

action. dsFederal courts have repeatedly held that violations of crim inal statutes

such as 18 U.S.C.jj 1001,1505 and 1621 do notgive rise to a private rightof

action.''Leedsv.TexasDept.ofFamily and Protective Servs.,2015 W L 4736567
at*2 (N.D.Tex.Aug.10,2015);seealso Nabaya v.Byron,264 F.Supp.3d 187,
189 (D.D.C 2017).
      Gu cannot recover damagesor obtain injunctive reliefbased on Invista's
alleged false statem ents or subm ission offalse docum ents during the litigation of

Gu 1.Any claims based on perjury orthe submission of false evidence mustbe
dismissedpursuanttoFed.R.Civ.P.12(b)(6).
      C .C onstitutionalC laim s

      To the extent that any of G u's constim tionalclaim s are not barred by res

judicata,they aremeritlessandmustbedism issed.
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     Gu alleges that his rights tmder the First, Eighth, and Fourteenth

Am endm entsw ere violated because,asapro se litigant,he w asdenied dueprocess

and the right to a m eaningful opporttmity to be heard.Gu provides no facts to

supportany plausible claim thatlnvista did anything to preventhim from accessing

the courts or presenting evidence or argum ents. For this reason alone, Gu's

constitutionalclaimsmustbedismissedunderRule 12(b)(6).
     Even if Invista did som ehow prevent G u from presenting his case in court,

lnvista is not liable under the Constitution.The First Am endm entprevents only

governm ental abridgm ent of speech. M anhattan Comm unity Access Corp. v.

Halleck, 139 S. Ct. 1921, 1928 (2019).Gu does not allege that Invista is a
governm entalagency orthat it is acting on behalf of the governm ent.The sam e is

true of the Fourteenth A m endm ent. Gi-
                                       fhat Am endm ent erects no shield against

m erely private conduct, how ever discrim inatory or wrongful.'' Burton v.

Wilmington Parking Auth.365 U.S.715,721(1961).Gu doesnotallegeany facts
to suggestthatlnvista is pal4 ofthe governm ent.lnvista is notliable undereither

the Firstorthe Fourteenth A m endm ents.

      The Eighth Am endm entprotectscrim inaldefendants from the im position of

excessive bailor crueland unusualpunishm ent.U .S.Const.am end VIII.This is

not a crim inal case. There are no allegations that G u has been denied bail or
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punished in any w ay.A ny claim s under the Eighth Am endm ent are legally and

factually m eritless.

      Gu's constim tional claim s lack m erit and m ustbe dism issed under Rule

12(b)(6).
   IV . Conclusion

      Gu'sFirstAm ended Com plaintfailsto state a claim upon which reliefm ay

be granted.The courtrecom m endsthatInvista'sM otion to D ism issPlaintiffsFirst

AmendedComplaint(D.E.41)begranted.Thecourtallowed Gu an opportunityto
am end his com plaint.The courtfindsthatany furtheram endm entsw ould befutile.

The courttherefore recommendsthatthisaction be dismissed with prejudice.See
Ayers,247 F.A pp'x at 535.

      The courtrecom m endsthatlnvista's firstM otion to Dism iss for Failure to

StateaClaim O .E.16)bedenied asmoot.
      The court construes Gu's M otion to Invalidate Judgm ents and Relief

(D.E.19) as a motion for relief 9om judgment,pursuant to Fed.R.Civ.P.
60(b)(3),which permitsrelieffrom ajudgmentbased on fraud,misrepresentation,
orm isoonductby an opposing party.Setting aside the procedural im propriety of

tiling thismotion in this case,the motion is late.Rule 60(c)(1)requires such a
motion to be filed no morethan a yearafterentry ofjudgment.M ore than ayear
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haspassed sinceentry ofjudgmentin Gu 1.Themotion isalsomeritless.Thecourt
recommendsthatGu'smotion forrelieffrom judgmentbedenied.
     Gu's M otion to V acate Order Denying M otion for D efault Judgm ent

(D .E.21)ism eritlessandthecourtrecomm endsthatitbedenied.
     lnvista'smotionto stay discovery (D.E.22)isdenied asmoot.
     Gu'smotiontocompeland forsanctions(D.E.28)isdenied.
     Gu'sm otion to fileabriefin opposition (D.E.38)isgranted.Thecourthas
considered al1ofGu'sfilings.

     A1lotherreliefnotspecifically granted in thisorderisdenied.

     The palies have fourteen days from service of this M em orandum and

Recommendation to fle written objections. 28 U.S.C. j636(b)(1)(c);
Fed.R.Civ.P.72.Failureto timely tile objectionswillpreclude appellatereview
offactualfindingsorlegalconclusions,exceptforplain error.See Thomas v.Arn,

474U.S.140,147-49 (1985);Rodriguezv.Bowen,857F.2d 275,276-77 (5th Cir.
1988).
     Signed atH ouston,Texas on A ugust 14,2019.




                                                PeterBray
                                       U nited States M agistrate Judge




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